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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
Katie Thierjung                                         CASE NUMBER:


                                                                       SACV 21-01480-JLS (DFMx)
                                            PLAINTIFF
                              v.
Zoetop Business Co., Ltd.
                                                                             JUDGMENT
                                           DEFENDANT



An offer of judgment having been made and accepted pursuant to Federal Rule of Civil
Procedure 68, and the offer and notice of acceptance having been filed on October 11, 2021
as docket number 13 & 14 (the "Offer of Judgment"), judgment is hereby entered for
 KATIE THIERJUNG

and against
 ZOETOP BUSINESS CO., LTD. d/b/a SHEIN and ROMWE

 according to the terms set forth in the Offer of Judgment.




                 Date: October 27, 2021                      By: Melissa Kunig
                                                                  Deputy Clerk




CV-140 (02/21)
                                                  JUDGMENT
